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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

KIM C. BLOCK, Individually and on Behalf of § Civil Action No.
All Others Similarly Situated,              §
                                            § CLASS ACTION
                               Plaintiff,   §
                                            §
       vs.                                  §
                                            §
INTEROIL CORPORATION, EXXON                 §
MOBIL CORPORATION, MICHAEL                  §
HESSION, CHRISTOPHER FINLAYSON, §
CHEE KEONG YAP, DR. ELLIS                   §
ARMSTRONG, FORD GRANT                       §
NICHOLSON, ISIKELI REUBEN                   §
TAUREKA, SIR WILSON KAMIT, and SIR §
RABBIE L. NAMALIU,                          §
                                            §
                               Defendants.
                                            §
                                            § DEMAND FOR JURY TRIAL




                         CLASS ACTION COMPLAINT
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        Plaintiff Kim C. Block (“Plaintiff”) makes the following allegations based on the

investigation of Plaintiff’s counsel, which included, inter alia, a review of: the Management

Information Circular for a Special Meeting of Holders of Common Shares, Options and Restricted

Share Units of InterOil Corporation with Respect to an Arrangement Involving InterOil Corporation

and Exxon Mobil Corporation, dated January 13, 2017 (the “Information Circular”); documents

publicly filed by InterOil Corporation (“InterOil”) and Exxon Mobil Corporation (“Exxon”); wire

and press releases; securities analysts’ reports; media reports; information provided by Philippe E.

Mulacek (“Mulacek”), founder and former Chairman of InterOil; and other public statements issued

by InterOil and Exxon. Plaintiff believes that substantial additional evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

        1.      This is a federal securities class action brought on behalf of all persons other than

Defendants who purchased or otherwise acquired Exxon shares worth $45.00 and a contingent

resource payment (the “CRP”) for each outstanding InterOil share in connection with the acquisition

of all of the issued and outstanding shares of InterOil by an affiliate of Exxon (the “Acquisition”),

and who are seeking to pursue remedies under §12(a)(2) of the Securities Act of 1933 (the

“Securities Act”), 15 U.S.C. §77l(a)(2).

                                              PARTIES

        2.      Plaintiff held approximately 7,850 shares of InterOil stock as of January 10, 2017, the

record date of the Acquisition (the “Record Date”). As a result of the Acquisition, Plaintiff was

forced to sell her InterOil shares and purchase Exxon shares and the CRP.

        3.      Defendant InterOil was a publicly-traded oil and gas company listed on the New York

Stock Exchange (the “NYSE”) prior to the Acquisition. InterOil was incorporated in Yukon

Territory, Canada, and headquartered in Singapore, with additional offices in Port Moresby, Papua


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New Guinea (“PNG”).        InterOil engaged in the exploration, appraisal and development of

hydrocarbon resources. Its primary assets were (i) a gross 36.5% interest in petroleum retention

license 15 (“PRL 15”) in the Gulf Province of PNG, which includes the world-class Elk and

Antelope gas fields (the “PRL 15 License Interest”), and (ii) the right to receive substantial future

payments from French oil and gas supermajor TOTAL, S.A. (“TOTAL”), arising out of TOTAL’s

2014 purchase from InterOil of a gross 40.19% license interest in PRL 15 (the “TOTAL Payments”).

The TOTAL Payments are calculated based on certified “in the ground” estimates of the total

hydrocarbon resources of the Elk and Antelope gas fields to be prepared by certain designated

independent third-party estimators according to an industry standard commonly referred to as “2C”

(the “PRL 15 2C Resource Estimate”). Under the TOTAL sale documents, the process of preparing

the PRL 15 2C Resource Estimate is referred to as the “Interim Resource Certification.” InterOil’s

additional assets included other interests in petroleum exploration and retention licenses covering an

area of approximately 16,000 square kilometers in the Gulf Province of PNG. InterOil was the

operator of PRL 15 until TOTAL assumed operations on August 1, 2015.

       4.      Defendant Exxon is the largest integrated oil and gas company in the world, with a

market capitalization exceeding $350 billion.         Exxon is incorporated in New Jersey and

headquartered in Irving, Texas. Exxon explores and produces crude oil and natural gas in the United

States, Canada, South America, Europe, Africa, Asia and Australia/Oceania. It also manufactures

petroleum products and petrochemicals, in addition to selling and transporting crude oil, natural gas,

and petroleum products.

       5.      Defendant Michael Hession (“Hession”) was at all relevant times hereto a director

and CEO of InterOil. Hession signed the Information Circular.

       6.      Defendant Christopher Finlayson (“Finlayson”) was at all relevant times hereto

Chairman of the Board of Directors of InterOil and a member of the committee created by the board

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of directors of InterOil (the “Board”) to oversee the Acquisition (the “Transaction Committee”).

Finlayson signed the Information Circular.

       7.       Defendant Chee Keong Yap (“Yap”) was at all relevant times hereto a director of

InterOil and member of the Transaction Committee.

       8.       Defendant Dr. Ellis Armstrong (“Armstrong”) was at all relevant times hereto a

director of InterOil and member of the Transaction Committee.

       9.       Defendant Ford Grant Nicholson (“Nicholson”) was at all relevant times hereto a

director and the Deputy Chairman of InterOil, and a member of the Transaction Committee.

       10.      Defendant Isikeli Reuben Taureka was at all relevant times hereto a director and

executive vice president – Papua New Guinea of InterOil.

       11.      Defendant Sir Wilson Kamit was at all relevant times hereto a director of InterOil.

       12.      Defendant Sir Rabbie L. Namaliu was at all relevant times hereto a director of

InterOil.

       13.      The defendants identified in ¶¶5-12 are collectively referred to as “Individual

Defendants,” and the defendants identified in ¶¶3-12 are collectively referred to herein as

“Defendants.”

                                 JURISDICTION AND VENUE

       14.      The claims asserted herein arise under §12(a)(2) of the Securities Act, 15 U.S.C.

§77l(a)(2).

       15.      This Court has jurisdiction over this action pursuant to §22 of the Securities Act, 15

U.S.C. §77v, and 28 U.S.C. §1331.

       16.      Venue is proper in this District pursuant to §22 of the Securities Act and 28 U.S.C.

§1391(b) and (c). Exxon maintains its headquarters in this District and many of the acts and conduct




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that constitute violations of law complained of herein occurred in this District, including

dissemination of the materially false and misleading Information Circular.

       17.     In connection with the acts and conduct alleged in this Complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including the

mails and telephonic communications and the facilities of the NYSE.

                                SUBSTANTIVE ALLEGATIONS

Background

       18.     InterOil was a publicly traded oil and gas company with two primary assets: the PRL

15 License Interest and the Total Payments. In early 2015, the Board decided to explore the sale of

minority interests in some of InterOil’s assets. The Board began contacting potentially interested

parties in September of 2015. Toward the end of 2015, the Board approached a select group of four

oil and gas companies about engaging in a larger minority investment transaction with respect to

some of InterOil’s assets, with the possibility of the investor also becoming the operator of those

assets. The companies approached were: Exxon, Oil Search Limited (“Oil Search”), “Party B” (as

referred to in the Information Circular), and a party who declined to participate. In response, Exxon

informed InterOil and its directors in December 2015 that it was considering acquiring all of

InterOil’s outstanding shares, instead of a minority interest only. InterOil’s management engaged in

a high level preliminary discussion with Exxon that month regarding Exxon’s new proposal. Shortly

thereafter, a number of InterOil insiders, including Defendants Hession, Armstrong, and Finlayson,

purchased InterOil shares prior to Exxon’s interest in acquiring InterOil was made public.

       19.     On March 1, 2016, InterOil signed a confidentiality agreement with Exxon

concerning the possible whole-company acquisition. On March 3, 2016, Exxon provided InterOil

with an indicative proposal, but InterOil determined that the proposal was not sufficient to merit

further negotiations at that time.


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       20.     Later, on March 11 and March 14, 2016, respectively, both Party B and Oil Search

submitted non-binding indicative proposals to acquire all of the issued and outstanding shares of

InterOil. With three proposals on the table, on March 16, 2016, the Board authorized management

and InterOil’s advisors to continue discussions with Exxon, Party B, and Oil Search to determine

whether one or all of the proposals could be improved. The Board also appointed the Transaction

Committee at this time, consisting of non-executive directors Finlayson, Nicholson, Yap, and

Armstrong.

       21.     Ultimately, Party B decided not to revise its offer, but both Oil Search and Exxon

later submitted revised, written non-binding indicative proposals on April 29, 2016 and May 6, 2016

respectively. On May 10, 2016, the Board authorized InterOil’s representatives to inform Exxon that

its May 6th revised proposal was inadequate. On May 20, 2016, InterOil announced that it had

entered into an agreement with Oil Search for Oil Search to acquire all of the issued and outstanding

shares of InterOil (the “Oil Search Agreement”).

       22.     During the bidding process, InterOil conducted earnings calls on March 30, 2016 and

May 13, 2016 with select brokers and analysts who follow InterOil’s stock. During the March 30,

2016 earnings call, Hession explained that InterOil and the other entities that hold joint venture

license interests in PRL 15 and the Antelope Field were contemplating whether to drill another

appraisal well to determine the volume uncertainties of the western flank of the Antelope Field

(“Antelope-7”). According to the transcript of the call, Hession made it “absolutely clear” that

InterOil would agree to drill Antelope-7 only if doing so “would add significant value for our

InterOil shareholders.” In relevant part, Hession stated:

               While the JV is yet to make a decision [sic] I can assure you that InterOil was
       only agreeing to [Antelope-7], if is absolutely clear, that it would add significant
       value for our InterOil shareholders. If we do not drill Antelope-7, we expect to
       initiate [the Interim Resource Certification] in the near future. This is a very
       important decision, and we expect to make that decision soon.

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                                          *      *       *

                But there is one thing that I think I've been absolutely consistent about, we
       will only agree to Antelope-7 and this is (inaudible) because as you say, it requires
       unanimity. We will only agree to Antelope-7 if it delivers material upside to our
       shareholders. That's the only lengths that Antelope cannot be driven. But I'll go back
       to today, there is no Antelope-7, it will be a JV decision, and we will work it through
       that at the moment.

       23.     During the earnings call on May 13, 2016, Hession stated InterOil management’s

view that Antelope-7 had “multi-tcfe upside” and could potentially increase resource estimates by 3

trillion cubic feet equibalent (“tcfe”). In relevant part, Hession stated:

               Now, a key question that is remaining and that’s about the extent of the field
       at western flank and whether we should drill Antelope-7. The target – multi-TCFE
       upside, I repeat. Upside, and that’s the size of the price.

                                          *      *       *

       I mean, the fact we’ve got Antelope-7 even on the table is a very, very positive
       outcome. As David [Kirk, Senior Vice President, Development and Drilling] said,
       when we put Antelope-5 in the ground, we expected to be testing the western flank.
       Well, that proved actually it could be much further out to the west. So very simply,
       the field has got bigger. And so Antelope 7 is all about chasing that western flank,
       which may well be constrained by the fault.

       As David [Kirk] said on a number of occasions and I have said on a number of
       occasions, that got multi-Tcfe, multi-Tcfe possibility of an outcome.

                                          *      *       *

       I mean, the fact of the matter is volumes are trending up. And whenever myself
       (inaudible) talked about this. GLJ, their view of the reservoir as we continually drill
       [Antelope appraisal wells] four, five and six GLJ again and again are being proved to
       be more correct with respect to the reserves and the nature of the geology that we are
       dealing with.

               But if I draw you back to why are we doing this and there is [sic] two major
       value-adds here. First of all, the value-add for the venture. 3 Tcfe is a significant
       amount of gas and that can deliver a significant amount of value to the joint venture
       and we would have upside potentially even further the facilities to make sure that we
       capture that value appropriately. But the very significant nuance, and I know you are
       well aware of this, Evan, is the fact that up to 3 Tcfe, we will have a massive effect
       on the certification payment, and as I have said before, $400 million per Tcfe. So if
       you are in a space or we are in a space up to 3 Tcfe, where you can see, that’s a very
       significant payment to us at InterOil.


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                                          *       *       *

       [We’ve] all said, [the Antelope Field] is a giant, she continues to behave like a giant,
       the appraisal is delivering on the upside and we are even more confident we’ve got a
       two-train development and there is more Tcf upside in Antelope-7.

                                          *       *       *

       If there is indeed another 3 Tcfe [in the Antelope Field], there is a lot more value
       that could be harvest from this field if you build the field facilities appropriately.

       24.     Then, on June 23, 2016, InterOil received an unsolicited, non-binding proposal from

Exxon to acquire all of the issued and outstanding shares of InterOil, prompting the Board to meet

and discuss the proposal with its advisors. The Board decided that Exxon’s offer was superior and

gave Oil Search until July 21, 2016 to revise its offer, which Oil Search failed to do. On July 21,

2016 InterOil terminated the Oil Search transaction, paid a $60 million termination fee to Oil Search,

and entered into an acquisition agreement with Exxon (the “Original Arrangement Agreement”).

       25.     Under the terms of the Original Arrangement Agreement, Exxon would acquire all

issued and outstanding common shares of InterOil for (i) $45.00 per InterOil share payable in Exxon

shares, and (ii) the CRP, which would pay approximately $7.07 per InterOil share for each 1 tcfe of

PRL 15 2C Resources above 6.2 tcfe, up to a maximum of 10 tcfe. No payment would be made on

account of PRL 15 2C Resource Estimate in excess of 10 tcfe.

       26.     The Original Arrangement Agreement provided that the InterOil shares would be

acquired pursuant to a statutory plan of arrangement under Yukon Law (the “Plan of Arrangement”).

For closing to occur, the Yukon Supreme Court was required to find that the Plan of Arrangement

was “fair and reasonable.”

       27.     On July 21, 2016, Morgan Stanley & Co. LLC (“Morgan Stanley”), InterOil’s

financial advisor at that time, provided its opinion to the Board that the consideration offered was

fair from a financial standpoint (the “Morgan Stanley Fairness Opinion”). As described below, the

Yukon Court of Appeal later found the Morgan Stanley Fairness Opinion to be severely lacking in a

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number of critical areas. In addition, the Board members were highly incentivized to execute the

Original Arrangement Agreement because they would receive immediate vesting of their significant

number of unvested stock options or restricted share units (“RSUs”).

       28.     On September 21, 2016, InterOil shareholders voted in favor of the Original

Arrangement Agreement. At the fairness hearing before the Yukon Supreme Court on September

27, 2016, Mulacek, founder and former Chairman of InterOil, challenged the fairness and

reasonableness of the Original Arrangement Agreement. In support of his position, Mulacek

proffered both opinion evidence from a leading Canadian corporate governance expert, Peter Dey

(“Dey”), and an affidavit from an expert in the “valuation of reserves and resource estimates for the

oil and gas industry,” John Booth (“Booth”). Dey stated that “the process undertaken by the Interoil

Board in considering and recommending the [Plan of Arrangement] . . . was deficient, and failed to

meet current governance best practice and to ensure adequate safeguards of shareholder interests.”

Booth’s affidavit stated that, in direct contrast to the Morgan Stanley Fairness Opinion, the Plan of

Arrangement was “inadequate, from a financial point of view, to the shareholders of InterOil.” The

Supreme Court of Yukon noted that both Dey and Booth had raised serious issues of disclosure,

process, and fairness in connection with the negotiation and corporate approval of the Plan of

Arrangement and Original Arrangement Agreement. Nonetheless, on October 7, 2016, despite

explicit misgivings, the Supreme Court of Yukon approved the Plan of Arrangement. Mulacek

appealed.

       29.     On November 2, 2016, after the Supreme Court of Yukon had issued its opinion,

TOTAL began drilling (also referred to as “spudding”) Antelope-7 – the final appraisal well that

would be drilled prior to the commencement of the Interim Resource Certification process. The

Interim Resource Certification process involves multiple valuation experts estimating the PRL 15 2C

Resources in the Antelope Field based, in large part, on data provided by the appraisal wells,

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including Antelope-7. Given that the size of the CRP is entirely dependent on the PRL 15 2C

Resource Estimate, the CRP was highly dependent on the quality of data collected from Antelope-7.

Antelope-7 was intended to answer very important questions about the Antelope Field, including the

limits of the Antelope reservoir, the productivity of the wells, and the characteristics of the oil or gas.

Consequently, the location of Antelope-7 was of paramount importance, as misplacement could

inaccurately suppress the eventual PRL 15 2C Resource Estimate, costing InterOil shareholders

hundreds of millions to billions of dollars in lost merger consideration.

        30.     To accomplish these objectives, InterOil and TOTAL intended to start Antelope-7 to

the west of the top of the Antelope reservoir and drill vertically downward until the western

downslope of the field was intersected – the higher the intersection, the father west the field

extended. Once the field was intersected, additional data on the field could also be obtained.

Conversely, if Antelope-7 failed to intersect the field at all, InterOil and TOTAL would have no

significant additional information about the field other than it did not extend as far west as the

Antelope-7 well. In such a situation, InterOil and TOTAL would have wasted significant time and

resources without receiving data to support an increase in the estimated size of the Antelope field,

the PRL 15 2C Resource Estimate, or the CRP. To date, Antelope-7 has cost more than $300

million.

        31.     Notably, Mulacek informed InterOil that Antelope-7 was being drilled in the wrong

location prior to spudding of Antelope-7. As Mulacek explained, Antelope-7 needed to target the

structural top of the Antelope reservoir, and then drill directionally to the west within the reservoir

rock to establish the limits of the Antelope reservoir and provide the sought-after information

regarding the productivity of the wells and the characteristics of the oil or gas. Mulacek’s approach

would have actually accomplished the stated goals for Antelope-7, as drilling would have started in

an already-proven portion of the Antelope reservoir and then tested how far it extended, rather than

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starting outside the already-proven portion of the field and hoping to intersect it. Despite the fact

Mulacek was the primary founder of InterOil and, as a Petroleum Engineer, had significant

applicable expertise regarding InterOil’s drilling and location selection for well operations, InterOil,

with Exxon and TOTAL, ignored his advice and spudded Antelope-7 in their originally intended

location.

       32.     Two days later, on November 4, 2016, the Court of Appeal of Yukon upheld

Mulacek’s appeal and overturned the Supreme Court of Yukon’s decision that the Plan of

Arrangement was “fair and reasonable.” The Court of Appeal based its finding on, inter alia, the

following “red flags”:

               (a)       the absence of a fairness opinion from an independent expert;

               (b)       the failure of Morgan Stanley to assess the value of the CRP as compared with

the value InterOil shareholders would receive by retaining their shares;

               (c)       the deficiencies in process pointed out by Mr. Dey;

               (d)       the unchallenged report of Mr. Booth that the Original Agreement was

“unfair” to InterOil shareholders;

               (e)       the fact the CEO was in a position of conflict;

               (f)       the probability the “independent” special committee was not independent of

management; and

               (g)       the lack of “necessity” for the deal.

       33.     The Court of Appeal also noted that the independent committee seemed “fairly

passive, merely receiving reports from management who led the negotiations.” These red flags,

according to the Court of Appeal, required the Supreme Court of Yukon “to do more than accept the

vote of the majority as a ‘proxy’ for fairness, or the cash amount of Exxon’s offer as a proxy for

reasonableness.” Ultimately, the Court of Appeal determined it could not say the Plan of

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Arrangement “ha[d] been shown to be fair and reasonable.” This finding terminated the Plan of

Arrangement and required Exxon and InterOil to agree on a new plan of arrangement, subject to

another approval by both InterOil’s shareholders and the Supreme Court of Yukon.

       34.     Despite the litany of shortcomings in the Plan of Arrangement identified by the Court

of Appeal, including the lack of an effective Transaction Committee, the Board reconvened the

Transaction Committee with the same directors serving as members, and tasked the Transaction

Committee with, inter alia, reviewing the new plan of arrangement. At this point, the Transaction

Committee finally obtained independent counsel and began holding regular meetings. On November

18, 2016, the Transaction Committee retained BMO Nesbitt Burns Inc. (“BMO”) as independent

financial advisor. It also requested that GLJ Petroleum Consultants Ltd. (“GLJ”) produce an

updated contingent resource report for PRL 15.

       35.     On November 30, 2016, GLJ provided its updated report (the “GLJ 2016 Report”),

which indicated its estimate of the PRL 15 2C Resources was now 7.8 tcfe (down from its previous

best estimate of 10.20 tcfe as of December 31, 2015). GLJ attributed its new lower estimate

primarily to data collected from the Antelope-6 appraisal well. However, InterOil did not release the

GLJ 2016 Report, so it is unclear whether any material changes in assumptions also factored into the

reduced estimate and, if so, whether such material changes in assumptions were directed to be

included by InterOil and/or Exxon.

       36.     On December 8, 2016, Exxon delivered its draft amended and restated acquisition

agreement (the “Amended Arrangement Agreement”), which included a revised plan of arrangement

(the “Revised Plan of Arrangement”) that included two material changes from the original Plan of

Arrangement: (1) a deceptive increase of the CRP cap from 10 tcfe to 11 tcfe; and (2) an increase in

the termination fee from $60 million to $100 million to compensate Exxon for the delay. As will be

discussed in more detail below, the increase in the CRP cap from 10 tcfe to 11 tcfe was an illusory

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benefit intended only to entice InterOil shareholders to approve the Acquisition. In reality,

Defendants knew the increase of the CRP almost certainly provided no additional value for InterOil

shareholders.

       37.      Shortly after Exxon delivered the Amended Arrangement Agreement to InterOil,

Antelope-7 experienced its first in a series of misses of its geological targets. On or about December

12, 2016, Antelope-7 failed to intersect the top of the Antelope Field carbonate formation at its

shallowest predicted depth of 1,804 meters. On December 14, 2016, Antelope-7 failed to intersect

the top of the Antelope Field carbonate formation at its most likely predicted depth of 1,984 meters.

       38.      The following day, the Board unanimously voted in favor of the Acquisition under

the Revised Plan of Arrangement and entered into the Amended Arrangement Agreement. In a

December 15, 2016 press release issued by InterOil providing an update on the Acquisition, InterOil

described the increase in the CRP cap as “an increase from the July Arrangement Agreement, which

was capped at 10 tcfe, representing an increase in total potential consideration to approximately

$78.94 per InterOil share from approximately $71.87 per share.”

       39.      On December 21, 2016, Antelope-7 reached its deepest point – 2,127 meters –

without intersecting the Antelope reservoir. Antelope-7 encountered drilling difficulties the

following day, and, as a result, the well operators decided to drill a side track well.

       40.      On or around January 13, 2017, Defendants disseminated the false and misleading

Information Circular to InterOil shareholders. InterOil filed the Information Circular with the SEC

as Exhibit 99.2 to its Form 6-K on January 17, 2017. By this date, Antelope-7 had drilled 143

meters below the base carbonate case but failed to intersect the Antelope Field, and so could provide

no support for extending the projected western boundary of the Antelope Field beyond its assumed

location before drilling Antelope-7. Thus, Defendants knew or should have known on this date that

(i) Antelope-7 had not substantively addressed the volume uncertainty or established the limits of the

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Antelope reservoir and so would almost certainly have no material upside impact or a negative

impact on the overall projected size of the Antelope Field, the eventual PRL 15 2C Resource

Estimate or, most importantly, the CRP, and (ii) consequently, the new CRP cap of 11 tcfe would

almost certainly provide no additional consideration for InterOil shareholders above the original

CRP cap of 10 tcfe.

       41.     Just like Antelope-7, the side track well experienced a series of misses of its key

geological targets in January and February 2017. On January 31, 2017, TOTAL announced the side

track well reached 1,980 meters without intersecting the Antelope reservoir. Then, on February 19,

2017, InterOil announced that the side track well reached its target depth of 2,383 meters without

intersecting the Antelope reservoir.

       42.     Meanwhile, on February 14, 2017, InterOil shareholders approved the Revised Plan

of Arrangement based on the false and misleading Information Circular. The Supreme Court of

Yukon approved the Acquisition pursuant to the Revised Plan of Arrangement on February 20, 2017.

Due to the InterOil shareholders’ approval, the Acquisition closed on February 22, 2017, with

InterOil shareholders purchasing $45.00 worth of Exxon shares and the CRP with each outstanding

InterOil share on a fully taxable basis.

       43.     The Acquisition amounted to a sale of Exxon shares by Defendants to InterOil

shareholders by means of a false and misleading prospectus, as these terms are used by §12(a)(2) of

the Securities Act.

Disabling Conflicts of Interest

       44.     The sales process leading to the Acquisition was driven by Defendants and InterOil

management, who collectively made tens of millions of dollars as a direct result of the Acquisition.

Both the Board and Company management held a significant number of RSUs that immediately

vested as a result of the Acquisition. As of January 10, 2017, the Board members collectively held


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171,287 RSUs worth approximately $7.7 million assuming no CRP, and Company management held

107,375 RSUs worth approximately $4.8 million assuming no CRP. In addition, Company

management received change-in-control payments worth more than $34 million as a result of the

Acquisition. Finally, as a result of the Acquisition, several Defendants and Company insiders stood

to make over $3 million in profits from the significant number of common stock they purchased in

late 2015 and early 2016 after Exxon informed InterOil that it was interested in acquiring InterOil

but before this fact was disseminated to the public. These conflicts strongly incentivized both the

Board and Company management to ignore the concerns raised by Mulacek on behalf of InterOil

shareholders.

Material Omissions and Misstatements in the Information Circular

       45.      The Information Circular omits material facts regarding the effects Antelope-7 will

have on the CRP, the actual value of the new CRP cap, and the placement of Antelope-7. In

addition, the Information Circular contains material misstatements concerning whether InterOil

shareholders were given all material information regarding Antelope-7 in the Information Circular

and/or leading up to the February 14, 2017 shareholder vote. Due to these material omissions and

misstatements, InterOil shareholders were unable to cast an informed vote on the Acquisition.

Material Omission Regarding the Impact Antelope-7 Will Have on the CRP

       46.      The Information Circular approved by Exxon and InterOil omitted the material fact

that Antelope-7 would almost certainly have no impact or a negative impact on the Interim Resource

Certification and, thus, the size of the CRP. Rather than disclose this fact, the Information Circular

misleadingly stated on several occasions that Antelope-7 could have a positive or negative impact on

the Interim Resource Certification without indicating which outcome was more likely. As a result,

InterOil shareholders were misleadingly led to believe there was a good chance Antelope-7 would

positively impact the size of the CRP and, thus, the merger consideration.


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       47.     Antelope-7 was almost certain to have no impact or a negative impact on the CRP.

Antelope-7 reached its deepest point by December 22, 2016 without intersecting the Antelope

reservoir – more than two weeks before Defendants filed and disseminated the Information Circular.

Likewise, Antelope-7’s side track well reached nearly 2,000 meters by January 31, 2017 (roughly

87% of its target depth) without intersecting the Antelope reservoir – two weeks before InterOil

shareholders voted on the Acquisition, and reached its target depth of 2,383 meters without

intersecting the Antelope reservoir by February 19, 2017.1

       48.     The fact that Antelope-7 was virtually certain to have no impact or a negative impact

on the CRP was material for InterOil shareholders because they could not accurately value the CRP

and, thus, the merger consideration without this information. As shown above, InterOil management

conditioned InterOil shareholders to believe that Antelope-7 would only be drilled if “it would add

significant value for InterOil shareholders,” and that Antelope-7 “has got multi-TCFE upside, multi-

TCFE possibility of an outcome.” Conversely, the Information Circular did not state that Antelope-7

was likely to have a negative impact or no impact on the CRP. Consequently, a reasonable InterOil

shareholder relying on publicly-disclosed information would have concluded Antelope-7 had a good

chance to positively impact the CRP and, thus, would have overvalued the CRP.

       49.     The fact that Antelope-7 was virtually certain to have no impact or a negative impact

on the CRP was also material because InterOil shareholders could not analyze the fairness opinion

rendered by BMO (the “BMO Fairness Opinion”) or the Board’s conclusions and recommendations

derived therefrom that the merger consideration was fair without this information. BMO used two


1
       As will be discussed in more detail below, the Information Circular repeatedly assured
InterOil shareholders that they would receive all material facts regarding Antelope-7 that became
available prior to the February 14 shareholder vote. See, e.g., Information Circular at 108 (“If
additional material information regarding the Antelope-7 appraisal well (and related tests)
becomes available prior to the Meeting, InterOil will ensure that such information is available to
Securityholders.”).

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resource certification scenarios in each valuation analysis: an 8.5 tcfe case and a 7.1 tcfe case. The

Information Circular described these scenarios as “representing [InterOil management’s] view of a

reasonable range of outcomes associated with the Interim Resource Certification process.”

However, in light of Antelope-7’s results, 8.5 tcfe and 7.1 tcfe was not a reasonable range of

outcomes when the Information Circular was filed or when InterOil shareholders voted in favor of

the Acquisition. Without disclosure of the fact Antelope-7 would almost certainly have no impact or

a negative impact on the CRP, InterOil shareholders could not properly weigh the results from the

8.5 tcfe case – a much less likely outcome in light of Antelope-7’s results, or the 7.1 tcfe case. The

Board, with direction by Exxon, concluded that the merger consideration was fair and unanimously

recommended the Acquisition to InterOil shareholders based, in part, on the misleading BMO

Fairness Opinion.

       50.     The omission of this fact renders several statements in the Information Circular

materially misleading. The Information Circular repeatedly stated that Antelope-7 could have a

positive or negative effect on the CRP without indicating which outcome was more likely. For

example, on page 108, the Information Circular stated:

       The impact of the Antelope-7 appraisal well on volume assessments will differ
       depending on the assessor and their interpretation of the volume uncertainty on the
       western flank of the Antelope Field, which Antelope-7 is designed to address. The
       actual results of the Antelope-7 appraisal well (and related tests) could impact the
       Interim Resource Certification, potentially in a positive or negative manner.

       51.     Likewise, when answering the question “Do the current publicly available resource

certifications take into account the results of the Antelope-7 appraisal well?,” and immediately after

listing Antelope-7’s December target misses, the Information Circular repeated these statements:

       The impact of the Antelope-7 appraisal well (and related tests) on volume
       assessments will differ depending on the assessor and their interpretation of the
       volume uncertainty on the western flank of the Antelope Field, which Antelope-7 is
       designed to address. The actual results of the Antelope-7 appraisal well (and
       related tests) could impact the Interim Resource Certification, potentially in a


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       positive or negative manner. If material information becomes available prior to the
       Meeting, InterOil will make that information available to Securityholders.

       52.     These statements are misleading because they led InterOil shareholders to believe

there was an equal chance, and perhaps better than equal chance, that Antelope-7 would positively

impact the CRP. This is particularly true in light of InterOil’s previous statements that it would not

drill Antelope-7 unless it was beneficial for InterOil shareholders.

       53.     This omission also renders the BMO Fairness Opinion and the conclusions derived

therefrom materially misleading. As detailed above, BMO utilized a resource certification range of

7.1 tcfe to 8.5 tcfe to generate its valuation analyses, which the Information Circular defined as “a

reasonable range of outcomes.” However, this range was not reasonable when the Information

Circular was filed or when the InterOil shareholder vote occurred, rendering the valuation analyses

in the BMO Fairness Opinion materially misleading. The following conclusions in the Information

Circular were also materially misleading as each was based, at least in part, on the misleading BMO

Fairness Opinion: (1) BMO’s conclusion that the merger consideration was fair, (2) the Board’s

conclusion that the Acquisition was in the best interest of InterOil shareholders, (3) the Board’s

conclusion that the merger consideration was fair, (4) and the Board’s recommendation to InterOil

shareholders to vote in favor of the Acquisition.

       54.     Notably, omitting the fact Antelope-7 was virtually certain to have no impact or a

negative impact on the CRP very likely caused the Acquisition to be structured as a taxable

transaction instead of a tax-free exchange, further damaging InterOil shareholders. To qualify as a

tax-free exchange, the fair market value of the non-stock component of the merger consideration, the

CRP, could not represent more than 20% of the total merger consideration. Had Defendants

disclosed that Antelope-7 was almost certain to have no impact or a negative impact on the CRP, the

fair market value of the non-stock component of the merger consideration (the CRP) would likely

have been small enough to allow the Acquisition to be structured as a tax-free exchange. Instead, at
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a significant cost to InterOil shareholders, the Acquisition was structured as a taxable transaction to

avoid having to disclose material facts about Antelope-7 and the true value of the CRP.

Material Omission Regarding the Increase in the CRP Cap

       55.     The Information Circular omitted the material fact that the increase in the CRP cap

from 10 tcfe to 11 tcfe was virtually certain to provide no additional consideration to InterOil

shareholders given the results of Antelope-7. Rather than disclose this fact, the Information Circular

misleadingly presented the increase in the CRP cap as potentially worth an additional $670 million

(or $7.07 per share) in merger consideration without explaining the likelihood that the increase of the

CRP cap would be triggered.

       56.     The Updated GLJ Certification – the most recent 2C estimate performed prior to the

Acquisition – provided a 2C estimate for the Antelope Field of 7.80 tcfe. The Updated GLJ

Certification incorporated data from all appraisal wells other than Antelope-7. Assuming the relative

accuracy of GLJ’s resource certification, Antelope-7 would have had to increase the 2C resource

estimate by at least 2.20 tcfe for the increase in the CRP cap to provide any value to InterOil

shareholders. However, as explained in detail above, Antelope-7 was virtually certain to have no

impact or a negative impact on any subsequent 2C resource estimate. Defendants knew the increase

in the CRP cap was virtually certain to provide no additional value for InterOil shareholders prior to

filing the Information Circular, indicating Defendants included it to mislead InterOil shareholders

into approving the Acquisition.

       57.     The omission of the fact that the increase in the CRP cap was virtually certain to

provide no additional consideration to InterOil shareholders is material because it prevented InterOil

shareholders from accurately valuing the CRP and, thus, the merger consideration. Had Defendants

disclosed that the increase in the CRP cap was an illusory benefit and almost certainly valueless,

InterOil shareholders would likely have placed a much smaller and more accurate value on the CRP.


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          58.       The omission of this fact renders the several statements that describe the potential

 positive impact of the increase in the CRP cap materially misleading. For example, when answering

 the question “What’s the difference between the Original Arrangement and the Arrangement I’m

 being asked to vote on?,” the Information Circular stated:

          The base consideration of shares of ExxonMobil Shares worth $45.00 offered under
          the Original Arrangement has not changed. The contingent resource payment of
          approximately $7.07 for each incremental tcfe of PRL 15 2C Resources that is above
          6.2 tcfe (along with the post-closing escrow arrangement) has also not changed,
          except that the 10 tcfe cap on the CRP has been raised to 11 tcfe. The increase in
          the cap on the CRP represents an increase of the maximum potential CRP Payout
          from $1.37 billion to $1.73 billion. The potential impact of the increase in the cap
          on the CRP, and certain other changes that were made to the Arrangement
          Agreement, are described in this Information Circular.

          59.       Likewise, the omission renders the several tables that illustrate the potential positive

 impact of the increase in the CRP cap materially misleading. For example, the Information Circular

 contains the following misleading table, which illustrates the potential impact of the increase in the

 CRP but does not explain that the increase is almost certain not to be implicated:

                                                     Table 3 – Indicative
                                                         Payments

                                                                   Interim Resource Certifications

                               5.0 tcfe   6.0 tcfe      7.0 tcfe       8.0 tcfe    9.0 tcfe   10.0 tcfe   11.0 tcfe   12.0 tcfe

Payments from Total S.A.

  Net Interim Resource
Certification Payment (in $
                                $0.00     $178.64       $539.79       $941.06     $1,342.34 $1,743.61     $2,144.89   $2,546.16
millions) payable by Total
            S.A.

       CRP Payout

 Base Consideration of $45
plus Total CRP Payout (in $   $2,298.72 $2,298.72      $2,587.64      $2,948.79   $3,309.94 $3,671.09     $4,032.23   $4,032.23
         millions)
  Total CRP Payout (in $
                                $0.00      $0.00        $288.92       $650.07     $1,011.21 $1,372.36     $1,733.51   $1,733.51
         millions)
 CRP Payout per Common
                                $0.00      $0.00         $5.66         $12.73      $19.80      $26.87      $33.94      $33.94
        Share

          60.       The statements and tables referenced above were particularly misleading in light of

 InterOil’s previous statements regarding Antelope-7, mainly that Antelope-7 would only be drilled if
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it would significantly benefit InterOil shareholders and that Antelope-7 had 3 tcfe upside. A

reasonable InterOil shareholder relying on publicly-available information would apply Antelope-7’s

purported 3 tcfe upside to the Updated GLJ Certification 2C estimate of 7.80 tcfe (for a sum of 10.80

tcfe) and logically, yet incorrectly, conclude that the increase in the CRP cap from 10 tcfe to 11 tcfe

had a good chance of adding hundreds of millions of dollars of merger consideration.

Material Omission Regarding the Placement of Antelope-7

       61.     The Information Circular omitted the fact that Antelope-7 was not placed in the most

suitable location to address the volume uncertainties or to establish the limits of the Antelope

reservoir. Instead, the Information Circular strongly implied that Antelope-7 was in fact placed in

the most suitable location to achieve its objectives.

       62.     Antelope-7 was not placed in the proper location to address the volume uncertainties

or to establish the limits of the Antelope reservoir. Again, Antelope-7 reached its maximum depth

without intersecting the Antelope reservoir weeks before the Information Circular was filed, and its

side track well reached a depth of more than 2,000 meters without intersecting the Antelope

reservoir prior to the InterOil shareholder vote. Thus, the only information Antelope-7 and its side

track well provided was that the Antelope reservoir does not extend as far west as Antelope-7. This

information alone does not substantively address either the volume uncertainties or the limits of the

Antelope reservoir.

       63.     This omission is material to InterOil shareholders because Antelope-7’s placement

and ability to address the volume uncertainties and limits of the Antelope Field directly impacted the

value of the CRP. By failing to disclose the fact Antelope-7 was misplaced and unable to

substantively achieve its objectives, Defendants prevented InterOil shareholders from accurately

valuing the CRP, and, thus, casting an informed vote on the Acquisition. Moreover, this omission is

material because misplacement of Antelope-7 (e.g. placing Antelope-7 too far west to address the


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volume uncertainties of the western flank) could artificially suppress the PRL 15 2C Resource

Estimates, potentially costing InterOil shareholders hundreds of millions to billions of dollars in

additional merger consideration.

       64.     This omission rendered several statements in the Information Circular materially

misleading, as these statements led InterOil shareholders to believe Antelope-7 was placed in the

proper location to address its stated objectives when in fact it was not. For example, when

answering the question: “Is Antelope 7 being drilled in the appropriate location?,” the Information

Circular explained that the PRL Joint Venture partners and their respective technical teams agreed

that Antelope-7 was being drilled in “the most suitable location to address the volume uncertainties

on the western flank of the Antelope Field.” Specifically, the Information Circular answered the

question as follows:

               Appraisal drilling is designed to establish the limits of the [Antelope]
       reservoir, the productivity of the wells and characteristics of oil or gas. Total S.A.,
       as the operator of the PRL 15 Joint Venture, proposed the location for the Antelope-7
       appraisal well. This proposal was reviewed by each of the PRL Joint Venture
       partners and their respective technical teams, after taking into account previous
       drilling tests, and was agreed upon to be the most suitable location to address the
       volume uncertainties on the western flank of the Antelope Field.

       65.     Likewise, the Information Circular repeatedly states that Antelope-7 is designed to

provide structural control and reservoir definition for the Antelope Field, and does not state that

Antelope-7 would not, or was unlikely to, achieve these objectives. For example, the Information

Circular stated on page 108:

       The Antelope-7 well, which commenced drilling in November 2016, is the final
       appraisal well in the Appraisal Work Program. The Antelope-7 appraisal well is
       designed to provide structural control and reservoir definition to the Elk-Antelope
       Fields’ western flank.




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Material Misstatements Regarding Whether InterOil Shareholders Received All Material
Information Regarding Antelope-7 Prior to the Shareholder Vote

       66.     The Information Circular contained material misstatements regarding whether

InterOil shareholders would receive all material information regarding Antelope-7 prior to the

February 14 shareholder vote. In truth, as the preceding sections make clear, Defendants failed to

disclose a number of material facts regarding Antelope-7 prior to the InterOil shareholder vote.

       67.     The Information Circular repeatedly assured InterOil shareholders that they would

receive all material information regarding Antelope-7 prior to the February 14 shareholder vote. For

example, on page 113, the Information Circular states:

               As described above, the drilling of the Antelope-7 appraisal well is ongoing.
       If additional material information regarding the Antelope-7 appraisal well (and
       related tests) becomes available prior to the Meeting, InterOil will ensure that such
       information is available to Securityholders. The impact of the Antelope-7 appraisal
       well on volume assessments will differ depending on the assessor and their
       interpretation of the volume uncertainty on the western flank of the Antelope Field,
       which Antelope-7 is designed to address. The actual results of the Antelope-7
       appraisal well (and related tests) could impact the Interim Resource Certification,
       potentially in a positive or negative manner.

       68.     Again, on page 33, the Information Circular states:

       Antelope-7 Drilling. Under the Arrangement Agreement, InterOil is able to provide
       Securityholders with material information regarding the Antelope-7 appraisal well,
       which commenced drilling on November 2, 2016. As a result, Shareholders will
       have the most up-to-date information available regarding the Antelope-7 appraisal
       well at the time of the Meeting.

       69.     These assurances were misstatements because Defendants did not disclose several

pieces of material information regarding Antelope-7 to InterOil shareholders prior to the February 14

shareholder vote. Specifically, Defendants failed to disclose the following material facts regarding

Antelope-7 to InterOil shareholders prior to the shareholder vote: (i) Antelope-7 will almost certainly

have no effect or a negative effect on the CRP; (ii) Antelope-7’s results virtually ensure that the new

CRP cap will provide no additional consideration to InterOil shareholders; and (iii) Antelope-7 was

not placed in the “most suitable location” to address the volume uncertainties and establish the limits

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of the Antelope reservoir. Defendants knew that the Information Circular both assured InterOil

shareholders that they would receive material information regarding Antelope-7 and omitted the

material facts regarding Antelope-7 listed above.

       70.     These misstatements were material to InterOil shareholders because Antelope-7

directly and significantly impacted the CRP, making it vitally important for Defendants to disclose

all material information regarding Antelope-7 to InterOil shareholders. By failing to comply with

their repeated assurances to provide material information regarding Antelope-7 to InterOil

shareholders, Defendants prevented InterOil shareholders from accurately valuing the CRP and,

thus, casting an informed vote on the Acquisition.

Exxon Was Responsible for the Material Misstatements in the Information Circular

       71.     Exxon, like InterOil and the Individual Defendants, was responsible for the material

misstatements in the Information Circular identified above. As stated in §2.5 of the Amended

Arrangement Agreement:

       (d) Parent [Exxon] shall provide, on a timely basis, the Company [InterOil] with all
       information regarding Parent, its affiliates and the Parent Shares, as required by the
       Interim Order or applicable Laws for inclusion in the Company Circular or in any
       amendments or supplements to such Company Circular. Parent and the Company
       shall also use their commercially reasonable efforts to obtain any necessary consents
       from any of their respective auditors and any other advisors to the use of any
       financial, technical or other expert information required to be included in the
       Company Circular and to the identification in the Company Circular of each such
       advisor. Parent shall take all reasonable steps to ensure that such information does
       not include any misrepresentation concerning Parent and its affiliates, including in
       relation to the Parent Shares.

       (e) The Company and Parent each acknowledge the importance of consistency across
       all public documents and, in that context, Parent and its legal counsel shall be given a
       reasonable opportunity to review and comment on the Company Circular (and any
       amendment to the Company Circular) prior to the Company Circular being printed
       and/or filed with any Governmental Entity, and reasonable consideration shall be
       given to any comments made by Parent and its legal counsel. The Company shall
       provide Parent with final copies of the Company Circular prior to the mailing to the
       Company Securityholders.



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        (f) The Company and Parent shall each promptly notify the other if at any time
        before the Effective Date either becomes aware that the Company Circular contains a
        misrepresentation, or otherwise requires an amendment or supplement and the Parties
        shall co-operate in the preparation of any amendment or supplement to the Company
        Circular as required or appropriate, and the Company shall promptly mail or
        otherwise publicly disseminate any amendment or supplement to the Company
        Circular to Company Securityholders and, if required by the Court or applicable
        Laws, file the same with any Governmental Entity and as otherwise required.

        (g) The Company shall mail or publicly disseminate an amendment or supplement to
        the Company Circular in connection with any new or updated information which, in
        the reasonable judgment of the Company Board or the Transaction Committee,
        should be made available to the Company Securityholders prior to the date of the
        Company Meeting. Prior to any dissemination of any such amendment or
        supplement to the Company Circular, Parent and its legal counsel shall be given a
        reasonable opportunity to review and comment thereon and reasonable consideration
        shall be given by the Company to any comments made by Parent and its legal
        counsel.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        72.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than Defendants who

purchased the common stock of Exxon and the CRP pursuant to the Information Circular and in

connection with the Acquisition on or about February 22, 2017 (the “Class”). Excluded from the

Class are Defendants herein, members of the immediate families of each of the Defendants, any

person, firm, trust, corporation, officer, director, or other individual or entity in which any defendant

has a controlling interest or which is related to or affiliated with any defendant, and the legal

representatives, agents, affiliates, heirs, successors-in-interest or assigns of any such excluded party.

        73.     The members of the Class are so numerous that joinder of all members is

impracticable. The precise number of Class members is unknown to Plaintiff at this time but the

names and addresses of the Class members can be ascertained from the books and records of

InterOil. Notice can be provided to such record owners by a combination of published notice and

first-class mail, using techniques and a form of notice similar to those customarily used in class

actions arising under the federal securities laws.

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       74.        Plaintiff will fairly and adequately represent and protect the interests of the members

of the Class. Plaintiff has retained competent counsel experienced in class action litigation under the

federal securities laws to further ensure such protection and intends to prosecute this action

vigorously.

       75.        Plaintiff’s claims are typical of the claims of the other members of the Class because

Plaintiff’s and Class members’ damages arise from and were caused by the same false and

misleading representations and omissions made by or chargeable to Defendants. Plaintiff does not

have any interests antagonistic to, or in conflict with, the Class.

       76.        A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the damages suffered by individual Class members may be

relatively small, the expense and burden of individual litigation make it virtually impossible for the

Class members to seek redress for the wrongful conduct alleged. Plaintiff knows of no difficulty that

will be encountered in the management of this litigation that would preclude its maintenance as a

class action.

       77.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether the Information Circular issued by InterOil and Exxon to InterOil

shareholders in connection with the Acquisition negligently omitted and/or misrepresented material

facts about the Company and its business;

                  (c)    whether the consideration received by class members in connection with the

Acquisition was artificially deflated by the false and misleading statements; and

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                (d)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

                                               COUNT

                           Violations of §12(a)(2) of the Securities Act
                                     Against All Defendants

       78.      Plaintiff repeats and realleges each and every allegation contained above as if fully set

forth herein.

       79.      This Count is brought pursuant to §12(a)(2) of the Securities Act, 15 U.S.C.

§77l(a)(2), on behalf of the Class against all Defendants.

       80.      Defendants were sellers and offerors and/or solicitors of purchasers of the Exxon

common stock and the CRP offered pursuant to the Information Circular.

       81.      The Information Circular contained untrue statements of material facts, omitted to

state other facts necessary to make certain statements not misleading, and omitted to state material

facts required to be stated therein. Defendants’ actions of solicitation included participating in the

preparation of the false and misleading statements in the Information Circular.

       82.      Defendants owed to the purchasers of Exxon common stock, including Plaintiff and

the other members of the Class, the duty to make a reasonable and diligent investigation of the

statements contained in the Information Circular to ensure that such statements were true and that

there was no omission to state a material fact required to be stated in order to make the statements

contained therein not misleading. Defendants in the exercise of reasonable care should have known

of the misstatements and omissions contained in the Information Circular as set forth above.

       83.      Plaintiff and other members of the Class purchased or otherwise acquired Exxon

common stock and the CRP pursuant to the defective Information Circular. Plaintiff did not know,

or in the exercise of reasonable diligence could not have known, of the inaccuracies and omissions

contained in the Information Circular.

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       84.     By reason of the conduct alleged herein, Defendants violated, and/or controlled a

person who violated, §12(a)(2) of the Securities Act. As a direct and proximate result of such

violations, Plaintiff and members of the Class sustained substantial damages in connection with their

purchase of Exxon stock and the CRP. Accordingly, Plaintiff and the other members of the Class

were harmed, and seek damages in connection with which they hereby tender their Exxon shares and

the CRP purchased in the Acquisition.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule 23

of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorney’s fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

DATED: January 2, 2018                         KENDALL LAW GROUP, LLP
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